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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARYLIANA M. MARRERO,
                    Plaintiff,
                                                                  20-CV-10961 (JPO)
                     -v-
                                                                        ORDER
 COMMISSIONER OF SOCIAL
 SECURITY,
                     Defendant.


J. PAUL OETKEN, District Judge:

       In accordance with this District’s Standing Order governing challenges to denials of

social security benefits (see In re: Mots. J. Pleadings Social Sec. Cases, 16-mc-171), the

following briefing schedule applies:

           •   Within 90 days of service, the Commissioner must serve and file the Electronic
               Certified Administrative Record (e-CAR), which constitutes the Commissioner’s
               answer, or otherwise move against the complaint.

           •   If Plaintiff wishes to file a motion for judgment on the pleadings, Plaintiff must
               do so within 60 days of the date on which the e-CAR was filed. The motion must
               contain a full recitation of the relevant facts and a full description of the
               underlying administrative proceeding.

           •   The Commissioner must file an answer brief within 60 days of the filing of
               Plaintiff’s motion.

           •   Plaintiff may file a reply within 21 days thereafter.

       Additionally, to conserve resources, to promote judicial efficiency, and in an effort to

achieve a faster disposition of this matter, it is hereby ORDERED that the parties must discuss

whether they are willing to consent, under 28 U.S.C § 636(c), to conducting all further

proceedings before a Magistrate Judge.

       If both parties consent to proceed before a Magistrate Judge, counsel for the defendant

must, within two weeks of the date on which Defendant enters an appearance, email to

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Oetken_NYSDChambers@nysd.uscourts.gov a fully executive Notice, Consent, and Reference

of a Civil Action of a Civil Action to a Magistrate Judge form, available at

https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf. If the court approves that form,

all further proceedings will then be conducted before a Magistrate Judge rather than before me.

       If either party does not consent to conducting all further proceedings before a Magistrate

Judge, the parties must file a joint letter, within two weeks on which Defendant enters an

appearance, advising the Court that the parties do not consent, but without disclosing the identity

of the party or parties who do not consent.

       SO ORDERED.

Dated: December 30, 2020
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge




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